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 7

 8                      IN THE UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,               ) Case No. 2:06-cr-0035-MCE
               Plaintiff,                    )
12        vs.                                ) Hon. Morrison C. England, Jr.
                                             )
13
     Zachary Jenson,                         ) Stipulation and Order Re:
14
               Defendant                     ) Modification of Defendant’s
                                             ) Release Conditions
15                                           )
                                             )
16                                           )
17

18           Zachary Jenson pled guilty on July 18, 2006 to one count
19
     of Conspiracy in violation of 18 U.S.C. § 371.           Mr. Jenson was
20
     released on conditions in July of 2006.          Mr. Jenson has been out
21
     of custody for approximately eight months.          Mr. Jenson has
22

23   observed all rules and regulations set by pre-trial services.

24   Mr. Jenson has been on home confinement without permission to
25
     work.    At this time, pre-trial services in Seattle, where Mr.
26
     Jenson lives, and pre-trial services in Sacramento, are in
27
     agreement that it would be reasonable for Mr. Jenson to seek
28



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     employment.   The government has no objection to Mr. Jenson
 1

 2   seeking to be gainfully employed.          Any employment sought by Mr.

 3   Jenson will be subject to the prior approval of pre-trial
 4
     services and Mr. Jenson may not be employed or associated with
 5
     any ELF related organization.          Therefore the parties request
 6
     that this Court sign the attached order allowing a modification
 7

 8   of conditions so that Mr. Jenson may seek and maintain

 9   employment, subject to approval by pre-trial services and under
10
     the direction and guidance of pre-trial services.
11

12
     Dated: January 22, 2007                        Respectfully submitted,
13

14
                                                  _/s/ Shari Rusk______
15                                                Shari Rusk
                                                  Attorney for Defendant
16
                                                  Zachary Jenson
17

18   Dated: January 22, 2007                         /s/ Steve Lapham
                                                  Steve Lapham
19                                                Assistant United States
20
                                                   Attorney

21
                                ORDER
22

23
          It is so ordered that Zachary Jenson be permitted to work

24   while on pre-trial release.
25   DATED: January 29, 2007
26
                                   __________________________________
27                                 MORRISON C. ENGLAND, JR
                                   UNITED STATES DISTRICT JUDGE
28



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